
Upon Consideration of the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Alexander Fernandez, to disbar the Respondent from the practice of law for violations of Rules 1.15(a) and 8.4(a), (c) and (d) of the Maryland Rules of Professional Conduct, and the record herein, it is this 26th day of November, 2018,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Alexander Fernandez, be disbarred from the practice of law in the State of Maryland; and it is further
ORDERED, that the Clerk of this Court shall strike the name of Alexander Fernandez from the register of attorneys in the Court and certify that fact to the trustees of the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-762(b).
